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                    EXHIBIT 1
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                 COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, ss                           MIDDLESEX SUPERIOR COURT
                                        CIVIL ACTION NO. 2381CV00868

ROBERTA BISCAN, INDIVIDUALLY
AND AS PARENT OF       C.B

JENNIFER BAPTISTA AND AARON BAPTISTA, INDIVIDUALLY
AND AS PARENTS OF       N.B.

SABRINA VELOZA, INDIVIDUALLY
AND AS PARENT OF       R.C. 1

KATHRYN MARSH AND MARK CHMIEL, INDIVIDUALLY
AND AS PARENTS OF   R.C. 2

COLLEEN LAVORATO AND JOSEPH LAVORATO, INDIVIDUALLY
AND AS PARENTS OF     C.L.

NICOLETTE DOUCETTE AND ROSARIO LOFARO, INDIVIDUALLY
AND AS PARENTS      A.F.

JEANNETTE LUTI AND RICHARD LUTI, INDIVIDUALLY
AND AS PARENTS OF    J.L.

CASSANDRA NICHOLS, INDIVIDUALLY
AND AS PARENT OF       G.S.    ,

ERIKA MELLSTROM and CLIFTON CLARK, III, INDIVIDUALLY
AND AS PARENTS OF       C.C.

SABRINA FUCILE and ALLEN FUCILE, INDIVIDUALLY
AND AS PARENTS OF      R.F.
     Plaintiffs

vs.

TOWN OF WILMINGTON,
KIMBERLY CUMMINGS, VICTORIA FITZGERALD, JESSICA TALBOT,
KELLY FOGGERTY, ALICE BROWN-LEGRAND, PAUL RUGGIERO,
CHARLOTTE KING AND GLENN BRAND
    Defendants




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                          COMPLAINT AND DEMAND FOR JURY

                                    INTRODUCTION

1.   This action, against the TOWN OF WILMINGTON, KIMBERLY CUMMINGS,

     VICTORIA FITZGERALD, JESSICA TALBOT, KELLY FOGGERTY, ALICE

     BROWN-LEGRAND, PAUL RUGGIERO, CHARLOTTE KING, and GLENN

     BRAND, arises out of multiple incidents in which each of the plaintiffs, all of whom are

     severely disabled students, were physically and mentally abused while attending school

     in the Wilmington public schools. Plaintiffs seek relief through various federal,

     constitutional, and common law tort claims.

                                         PARTIES

2.   Plaintiff,        C.B         , a minor, by ROBERTA BISCAN, his mother and next

     friend (hereinafter referred to as “ C.B ”), is a resident of Wilmington, Middlesex

     County, Commonwealth of Massachusetts.

3.   Plaintiff, ROBERTA BISCAN, individually, brings this lawsuit as parent of her

     incapacitated son,      C.B    pursuant to Massachusetts General Laws Chapter 231,

     Section 85X. She is an individual residing in Wilmington, Middlesex County,

     Massachusetts.

4.   Plaintiff,           N.B.        , a minor, by JENNIFER BAPTISTA, his mother and

     next friend (hereinafter referred to as “ N.B. ”), is a resident of Wilmington, Middlesex

     County, Commonwealth of Massachusetts.

5.   Plaintiffs, JENNIFER BAPTISTA and AARON BAPTISTA, individually, bring this

     lawsuit as parents of their incapacitated son, N.B.   pursuant to Massachusetts General




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      Laws Chapter 231, Section 85X. They are individuals residing in Wilmington,

      Middlesex County, Massachusetts.

6.    Plaintiff,        R.C. 1             , a minor, by SABRINA VELOZA, his mother and next

      friend (hereinafter referred to as “ R.C. 1 ”), is a resident of Wilmington, Middlesex

      County, Commonwealth of Massachusetts.

7.    Plaintiff, SABRINA VELOZA, individually, brings this lawsuit as parent of her

      incapacitated son,      R.C. 1    , pursuant to Massachusetts General Laws Chapter 231,

      Section 85X. She is an individual residing in Wilmington, Middlesex County,

      Massachusetts.

8.    Plaintiff      R.C. 2            , a minor, by KATHRYN MARSH, his mother and next friend

      (hereinafter referred to as “R.C. 2 ”), is a resident of Shirley, Middlesex County,

      Commonwealth of Massachusetts.

9.    Plaintiffs, KATHRYN MARSH, an individual residing in Shirley, Middlesex County,

      Massachusetts and MARK CHMIEL, an individual residing in Ayer, Middlesex County,

      Massachusetts, bring this lawsuit as parents of their incapacitated son, R.C. 2 pursuant

      to Massachusetts General Laws Chapter 231, Section 85X.

10.   Plaintiff,           C.L.             , a minor, by COLLEEN LAVORATO, her mother and

      next friend (hereinafter referred to as “ C.L. ”), is a resident of Wilmington, Middlesex

      County, Commonwealth of Massachusetts.

11.   Plaintiffs, COLLEEN LAVORATO and JOSEPH LAVORATO, individually, bring this

      lawsuit as parents of their incapacitated daughter,     C.L.   pursuant to Massachusetts

      General Laws Chapter 231, Section 85X. They are individuals residing in Wilmington,

      Middlesex County, Massachusetts.


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12.   Plaintiff,            A.F.            , a minor, by NICOLETTE DOUCETTE, his mother

      and next friend (hereinafter referred to as “      A.F.     ”), is a resident of Wilmington,

      Middlesex County, Commonwealth of Massachusetts.

13.   Plaintiffs, NICOLETTE DOUCETTE and ROSARIO LOFARO, individually, bring this

      lawsuit as parents of their incapacitated son,            A.F.     pursuant to Massachusetts

      General Laws Chapter 231, Section 85X. They are individuals residing in Wilmington,

      Middlesex County, Massachusetts.

14.   Plaintiff,    J.L.          , an incapacitated person, by his legal guardian JEANNETTE

      LUTI, is a resident of Wilmington, Middlesex County, Commonwealth of Massachusetts.

15.   Plaintiff, JEANNETTE LUTI and RICHARD LUTI, individually, bring this lawsuit as

      parents of their incapacitated son, J.L.      pursuant to Massachusetts General Laws

      Chapter 231, Section 85X. They are individuals residing in Wilmington, Middlesex

      County, Massachusetts.

16.   Plaintiff,           G.S.           , a minor, by CASSANDRA NICHOLS, his mother and

      next friend (hereinafter referred to as     G.S.   ), is a resident of Wilmington, Middlesex

      County, Commonwealth of Massachusetts.

17.   Plaintiff, CASSANDRA NICHOLS, individually, brings this lawsuit as parent of her

      incapacitated son,          G.S.   pursuant to Massachusetts General Laws Chapter 231,

      Section 85X. She is an individual residing in Wilmington, Middlesex County,

      Massachusetts.

18.   Plaintiff,           C.C.             , a minor, by his mother and next friend ERIKA

      MELLSTROM, is a resident of Wilmington, Middlesex County, Commonwealth of

      Massachusetts.


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19.   Plaintiffs, ERIKA MELLSTROM and CLIFTON CLARK, III, individually, bring this

      lawsuit as parents of their incapacitated son,         C.C.         , pursuant to

      Massachusetts General Laws Chapter 231, Section 85X. They are individuals residing in

      Wilmington, Middlesex County, Massachusetts.

20.   Plaintiff,       R.F.        , a minor, by his mother and next friend, SABRINA FUCILE,

      is a resident of Wilmington, Middlesex County, Commonwealth of Massachusetts.

21.   Plaintiff, SABRINA FUCILE and ALLEN FUCILE, individually, bring this lawsuit as

      parents of their incapacitated daughter,    R.F.   pursuant to Massachusetts General

      Laws Chapter 231, Section 85X. They are individuals residing in Wilmington, Middlesex

      County, Massachusetts.

22.   Defendant, TOWN OF WILMINGTON, is a body politic and corporate duly organized

      under the laws of the Commonwealth of Massachusetts, with a principal place of business

      of 121 Glen Road, Wilmington, Middlesex County, Commonwealth of Massachusetts.

23.   The Town of Wilmington is responsible for the administration of the Wildwood School

      which is a public elementary school within and for the Town of Wilmington

24.   Defendant KIMBERLY CUMMINGS (hereinafter "Cummings") is an individual residing

      at 24 Miller Road, Wilmington, Middlesex County, Commonwealth of Massachusetts.

25.   Cummings was employed as a teacher for the Town of Wilmington from 2003 through

      2021. Cummings was assigned to classroom 7 at the Wildwood School for seventeen

      years and Shawsheen School for one year in 2005. Her employment ended in May 2021

      after DCF began its investigation.




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26.   Defendant, VICTORIA FITZGERALD (hereinafter "Fitzgerald"), is an individual

      residing at 6 Chandler Road, Wilmington, Middlesex County, Commonwealth of

      Massachusetts.

27.   Defendant Fitzgerald was employed as an assistant teacher at the Wildwood School from

      February 2017 through May 2021. Her employment ended after DCF began its

      investigation. Fitzgerald worked with Cummings in Classroom 7 at Wildwood School

      throughout her employment.

28.   Defendant KELLY FOGGERTY (hereinafter "Foggerty") is an individual with an

      address unknown to the Plaintiffs.

29.   Foggerty was employed as a teacher for the Town of Wilmington at the Wildwood

      School for all times relevant hereto.

30.   Defendant, JESSICA TALBOT (hereinafter "Talbot"), is an individual with an address

      unknown to the Plaintiffs.

31.   Talbot was employed as an assistant teacher for the Town of Wilmington at the

      Wildwood School for all times relevant hereto. Talbot worked with Foggerty at

      Wildwood School for all times relevant hereto.

32.   Defendant, ALICE BROWN-LEGRAND (hereinafter "Legrand"), is an individual

      residing at 65 Sandalwood Circle, Tewksbury, Middlesex County, Massachusetts.

33.   Legrand was employed as the Director of Special Education for the Town of Wilmington,

      at all times relevant hereto.

34.   Defendant, CHARLOTTE KING (hereinafter "King"), is an individual residing at an

      address unknown to the Plaintiffs.




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35.   KING was employed as the principal at Wildwood School for the Town of Wilmington

      from 2014 through 2021. Her employment ended after DCF began its investigation.

36.   Defendant, GLENN BRAND (hereinafter "Brand"), is an individual residing at an

      address unknown to the Plaintiffs.

37.   Brand was the superintendent for the public schools in and for the Town of Wilmington

      from in or about 2018 through the current date.

38.   Defendant, PAUL RUGGIERO (hereinafter "Ruggiero"), is an individual residing at 47

      Forest Street, Wilmington, Middlesex County, Massachusetts.

39.   Ruggiero was the interim superintendent for the public schools in and for the Town of

      Wilmington at times relevant hereto.

                          FACTS COMMON TO ALL CLAIMS

40.   The powers, duties and liabilities of Wildwood School and Shawsheen School are vested

      in and exercised by the Town of Wilmington.

41.   At all times relevant to this action, Defendant, Town of Wilmington, employed all school

      staff, faculty, counselors, principals and superintendents at Wildwood School and

      Shawsheen School.

42.   At all times relevant to this action, Wildwood School and Shawsheen School employees

      were acting under the color of law, under the color of their authority as Town of

      Wilmington employees, and within the scope of their employment with the Town of

      Wilmington.

43.   At all times relevant to this action, Cummings, Fitzgerald, Foggerty, Talbot and Legrand

      were under the disciplinary authority of King, Brand, Ruggiero and the Town of

      Wilmington.


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44.   At all times relevant to this action, King was under the disciplinary authority of Brand,

      Ruggiero and the Town of Wilmington.

45.   At all times relevant to this action, Brand and Ruggiero were under the disciplinary

      authority of the Town of Wilmington.

46.   In 2005, Cummings physically abused and neglected J.L. resulting in broken blood

      vessels in J.L. eyes. Cummings used poor judgment in her application of ABA

      teaching, was not truthful with the student’s parents, and refused to allow the student to

      go to the school nurse to address the broken blood vessels.

47.   The Town of Wilmington’s school district failed to properly address this complaint with

      the student’s parents for over two months.

48.   Between 2008 and 2013, Cummings was observed by other Wildwood School staff

      members to have inappropriate and potentially harmful physical interactions with the pre-

      kindergarten and kindergarten students in her classroom, including using her foot to

      move non-verbal students across the floor, physically handling students in a rough

      manner and pulling students up by the underarms.

49.   Staff members reported these incidents to school administrators.

50.   In 2014 Cummings was suspended for five days without pay for falsifying data to the

      then principal. She was suspended for inefficiency, incompetency, conduct unbecoming a

      teacher, insubordination and other just causes.

51.   From 2016 through 2021, Cummings was physically and verbally abusive to N.B.

      R.C. 1   , R.C. 2 C.L.   A.F.     C.C.   and R.F.     These actions include:

      a. used harsh language and bullied students in her classroom;

      b. screamed at the students;


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      c. pulled students by the back of their sweatshirts;

      d. emptied students’ water bottles to prevent them from drinking and urinating in the

           classroom;

      e. ate the students’ snacks;

      f. withheld snacks from the students;

      g.   grabbed students by their wrist and dragged them to “time-out”;

      h. grabbed students by their wrist and dragged them to the nurse’s office;

      i. used forceful physical prompts;

      j. forcefully put students onto their chairs;

      k. ignored children when they cried in distress.

52.   In 2020, Cummings was suspended without pay after she pushed a pre-kindergarten

      student’s elbow off the table in a way that the child could have fallen, denied the child

      water and did not follow that child’s individualized education plan (hereinafter “IEP”).

      Cummings was suspended for incompetency, conduct unbecoming a teacher and other

      just cause.

53.   Although Cummings attended safety training, she did not complete certain parts of that

      training.

54.   Fitzgerald was present in classroom 7 from 2017 through 2021 and observed Cummings

      commit the above stated abuses. Fitzgerald failed to take any action to stop the abuse.

      Fitzgerald failed to report any of the above stated abuse to the Department of Children

      and Families (hereinafter “DCF”) as is required by law.

55.   The school district failed and refused to report any of the above abuses to DCF as is

      required by law.


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56.   School staff members reported the abuse committed by Cummings to the school district,

      including King, Legrand, Ruggiero and Brand.

57.   Legrand, King, Ruggiero and Brand were informed by various staff members and/or

      parents that Cummings had committed the above stated abuse but Legrand, King,

      Ruggiero and Brand failed to report the abuse to DCF.

58.   Legrand, King, Ruggiero and Brand failed to impose appropriate disciplinary action

      against Cummings including requiring her to obtain retraining to correct her abusive

      behavior.

                                             R.C. 1

59.   In March 2021, R.C. 1 was a three-year-old boy with autistic spectrum disorder

      including severe language impairment.

60.   R.C. 1   attended Wildwood School in a preschool class from September 2020 through

      March 2021. R.C. 1 was placed in classroom 7 where Cummings was the primary teacher

      and Fitzgerald was the assistant teacher.

61.   Shortly after entering classroom 7, R.C. 1 began kicking, refusing to go into classroom 7

      and throwing tantrums in the hallway. He regressed with his disabilities and was not

      happy.

62.   R.C. 1   came home from school with bruising thumbprint in size and shaped like

      fingerprints on his thighs which were consistent with someone holding him down by the

      legs. He also arrived home with bruising from his waist to his feet. He also had bumps on

      his head. On one occasion he came home in girls pants.

63.   R.C. 1   ’s parents reported their concerns regarding Cummings’ abusive behavior to the

      school administration, specifically including King.


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64.   As a result of Cummings’ behavior, R.C. 1 regressed in many of his disability related

      issues.

65.   After R.C. 1 ’s parents removed R.C. 1 from Cummings’ classroom, R.C. 1 ’s regressions

      ceased and he began making significant improvements.

66.   R.C. 1    has suffered severe physical and emotional distress, including feelings of anxiety.

67.   Sabrina Veloza has suffered a loss of parental consortium, causing severe emotional

      distress, including feelings of shame, anxiety and guilt.

                                                N.B.

68.   In February 2021, N.B. was a six-year-old boy with autistic spectrum disorder

      including severe language impairment.

69.    N.B.     attended Wildwood School in a preschool class from January 2018 through

      September 2020. During this time, he loved school. He did well in school and he made

      steady positive progress.

70.   In September 2020, N.B. was moved to classroom 7 at Wildwood School. Shortly after

      being transferred to classroom 7, N.B. began to resist going to school. He regressed

      with his disabilities and was not happy.

71.   In February 2021, Cummings injured N.B. ’s wrists while dragging him. Following this

      incident, N.B. ’s pediatrician filed a complaint with DCF.

72.   On May 4, 2021, Cummings again physically injured N.B.             N.B.   ’s pediatrician noted

      three ½ inch linear patterned yellow dotted bruises on N.B. ’s lower back.

73.    N.B.     would often say “no school, teacher hurt me”. N.B. appeared traumatized when

      his parents brought him to classroom 7 and was reluctant to enter the classroom. N.B.

      would crumble into a ball when his parents mentioned the word “teacher”.


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74.    N.B.     ’s parents consistently reported their concerns regarding Cummings’ abusive

      behavior to the school administration, specifically including King and Brand.

75.   As a result of Cummings’ behavior, N.B. often came home from school hungry, had

      increased staring spells, had increased emotional lability, had agitated behaviors, and had

      sleep difficulties and nightmares.

76.   After Cummings was removed from classroom 7, N.B. ’s unresponsive staring stopped,

      his regressions ceased and he began making significant improvements.

77.    N.B.     continues to undergo trauma therapy to cope with Cummings’ abusive behavior.

       N.B.     has suffered severe physical and emotional distress, including feelings of anxiety.

78.   Jennifer Baptista and Aaron Baptista have suffered a loss of parental consortium, causing

      severe emotional distress, including feelings of shame, anxiety and guilt.

                                               R.C. 2

79.   In April 2021, R.C. 2 was a five-year-old boy with autistic spectrum disorder including

      severe language impairment.

80.   R.C. 2   has attended Wilmington Schools since he was three years old. Prior to March

      2021, he generally enjoyed school and was making progress with his disabilities and with

      general learning.

81.   In or about March 29, 2021, R.C. 2 was assigned to classroom 7 at Wildwood School.

      Within the first week of being in classroom 7, R.C. 2 came home stating that he did not

      like school and did not want to go back.

82.   Cummings regularly pulled R.C. 2 by the wrist and physically placed him in “time-out”.

      On or about April 2, 2021, Cummings grabbed R.C. 2 by the wrist and left bruises

      consistent with finger marks on top of R.C. 2 ’s wrists. On or about April 30, 2021,


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      Cummings grabbed R.C. 2 by the wrist and again left bruises consistent with finger marks

      on top of R.C. 2 ’s wrists.

83.   Cummings’ actions caused R.C. 2 physical pain. R.C. 2 demonstrated how Cummings hurt

      his arm to the school adjustment counselor.

84.   After being placed in classroom 7, R.C. 2 became more physically aggressive.

85.   On or about May 3, 2021, R.C. 2 ’s mother reported these incidents to the Wilmington

      Superintendent’s Office.

86.   R.C. 2   has suffered severe physical and emotional distress, including feelings of anxiety.

87.   Kathryn Marsh and Mark Chmiel have suffered a loss of parental consortium, causing

      severe emotional distress, including feelings of shame, anxiety and guilt.

                                                A.F.

88.   In September 2016,        A.F.   was a five-year-old boy with an autistic spectrum disorder

      including severe language impairment.

89.      A.F.      attended Wilmington Schools since 2015. He generally enjoyed school and was

      making progress with his disabilities and with general learning.

90.   In or about September 2016        A.F.    was assigned to classroom 7 at Wildwood School.

      Within a couple of months,       A.F.    became physically aggressive at home and refused

      to go to school.

91.   Cummings failed and refused to follow            A.F.   IEP.

92.      A.F.      was sent to school every day with multiple outfits and pull-ups due to his

      toileting issues. Cummings failed to put a pull-up on      A.F.    causing him to soil his

      clothing. Cummings would make him wear girl’s pants despite the fact that he had clean

      pants of his own to wear.


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93.       A.F.      parents removed     R.F.    from classroom 7 in the Summer of 2017. After he

       was removed,       A.F.   made steady progress in school.

94.      A.F.      has suffered severe physical and emotional distress, including feelings of

       anxiety.

95.    Nicolette Doucette and Rosario Lofaro have suffered a loss of parental consortium,

       causing severe emotional distress, including feelings of shame, anxiety and guilt.

                                                C.L.

96.    In October 2014, C.L. was a three-year-old girl with autistic spectrum disorder

       including severe language impairment.

97.    C.L.     began pre-school in September 2014. At that time, C.L. was in a classroom where

       Foggerty was the teacher.

98.    Foggerty was verbally and physically abusive to C.L.

99.    C.L.     came home from school with marks and bruises on her body and face. On October

       23, 2014 she came home with a bump on her forehead. On October 28, 2014, she came

       home with swollen lips. On November 13, 2014, she came home with cuts to her eye

       socket. On November 17, 2014, she came home with scratches on her neck. C.L. ’s

       anxiety increase dramatically during this time.

100.   In or about 2016, C.L. began kindergarten in classroom 7 at Wildwood School.

101.   Cummings was verbally and physically abusive to C.L. When C.L. became emotional

       or upset and began to cry, Cummings yelled at her to knock it off. Cummings used harsh

       language and bullied C.L.

102.   At times, Cummings refused to give C.L. her lunch. C.L. would often come home

       from school hungry despite the fact that C.L. went to school with sufficient food.


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103.     C.L.   mother made multiple complaints to King, Legrand, Ruggiero and the School

       Committee regarding Foggerty and Cummings’ abusive behavior. C.L.          mother

       requested that King, Legrand and Ruggiero file complaints with DCF, but they refused.

        C.L.    mother filed her own complaint with DCF on March 30, 2018.

104.    C.L.    parents removed C.L. from classroom 7 and the Wildwood School out of

       concern for her safety.

105.    C.L.    parents had to hire an attorney to force the Town Wilmington to provide C.L.

       with an out-of-district placement.

106.   During this period of time, C.L. did not have a school to go to. It was an extremely

       stressful and emotional time for C.L. and her parents.

107.   Once in the new out-of-district school, C.L. started to receive incredible services and

       made progress in disability related issues and general learning.

108.   As a result of Foggerty and Cummings’ actions, C.L. suffers from PTSD, panic attacks

       and anxiety. C.L. has suffered severe physical and emotional distress, including feelings

       of anxiety.

109.   Colleen Lavorato and Joseph Lavorato have suffered a loss of parental consortium,

       causing severe emotional distress, including feelings of shame, anxiety and guilt.

                                               J.L.

110.   In August 2005, J.L. was an eight-year-old boy with autistic spectrum disorder

       including severe language impairment.

111.   In August 2005, J.L. was in a classroom at Shawsheen School and Cummings was his

       primary teacher.




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112.   In August 2005 Cummings put J.L. in a chair, pushed him tight up against a table and sat

       directly behind him. Cummings would not let J.L. move for almost an hour. Cummings

       grabbed J.L. under the arms several times, forcing him to sit up. During this time, J.L.

       was screaming. As a result of this incident, J.L. developed broken blood vessels in his

       eyes. An assistant teacher asked Cummings to send J.L. to the school nurse to be seen

       for his eyes, but Cummings refused to allow this to happen. Cummings was not truthful

       with J.L. parents regarding the broken blood vessels.

113.   The Town of Wilmington’s school district failed to properly address this complaint with

        J.L.    parents for over two months.

114.    J.L.    parents removed J.L. from Cummings’ class.

115.   J.L.    has suffered severe physical and emotional distress, including feelings of anxiety.

116.   Jeanette Luti and Richard Luti have suffered a loss of parental consortium, causing severe

       emotional distress, including feelings of shame, anxiety and guilt.

                                                 C.B

117.   In May 2010, C.B         was a five-year-old boy with autistic spectrum disorder including

       severe language impairment.

118.    C.B      attended Wildwood School’s pre-school program from September 2007 through

       June 2009. During this time period, C.B         enjoyed school and made great strides in his

       vocabulary.

119.   In September 2009, C.B         started kindergarten in classroom 7. After the first week,

        C.B      came home from school crying. He did not want to go back to school. He kept

       saying that his teacher was mean.




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120.   Cummings would grab C.B         in an aggressive manner. C.B        came home from school

       on multiple occasions with bruises and scratches on his face and back. He also had

       bruises on his side and legs.

121.   On one occasion, C.B       came home with a large bruise in the area of his tailbone.

        C.B     told his mother that Cummings had pushed him.

122.     C.B    s mother reported the abuse to the schools administration, but no action was

       taken.

123.   In February 2010, C.B ’s parents demanded that the school transfer C.B            away from

       Cummings out of concern for his safety. In March 2010, C.B          was moved to a

       different classroom.

124.    C.B     has suffered severe physical and emotional distress, including feelings of anxiety.

125.   Roberta Biscan has suffered a loss of parental consortium, causing severe emotional

       distress, including feelings of shame, anxiety and guilt.

                                                G.S.

126.   In March 2020, G.S.      was a three-year-old boy with autistic spectrum disorder

       including severe language impairment.

127.   At all times relevant hereto, G.S.     was in a classroom where Foggerty was the teacher

       and Talbot was an assistant teacher.

128.   In 2019 and 2020, Talbot physically abused        G.S.   Talbot squeezed   G.S.   s arms and

       neck hard enough to cause pain to      G.S.     Talbot hurt G.S.   when she rubbed

         G.S.    chest (similar to a sternum rub).

129.     G.S.    mother reported her concerns to King but King failed to report the matter to

       DCF or to impose any disciplinary action on Talbot.


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130.    G.S.     has suffered severe physical and emotional distress, including feelings of anxiety.

131.   Cassandra Nichols has suffered a loss of parental consortium, causing severe emotional

       distress, including feelings of shame, anxiety and guilt.

                                                 C.C.

132.   In October 2018, C.C. was a three-year-old boy with autistic spectrum disorder

       including severe language impairment.

133.    C.C.    attended Wildwood School’s pre-school program from October 2018 through

       September 2019. During this time period, C.C. enjoyed school.

134.   In September 2019, C.C. was moved to classroom 7. C.C. was physically and

       emotionally abused by Cummings.

135.   Cummings failed to prompt C.C. to get up and throw away his lunch. Cummings left

        C.C.    sitting at a table for over thirty minutes despite the fact that C.C. was obviously

       upset.

136.   Cummings sharply pushed         C.C.   elbows off the table, while his chin was resting in his

       hands, causing       C.C.   chin to strike the table. Cummings yelled at C.C. to sit up,

       grabbed       C.C.   chair and sharply pushed it in. Cummings ignored     C.C.   request to

       use the bathroom. Cummings refused to allow C.C. to go to his inclusion class as was

       required under his individualized education plan (hereinafter “IEP”). Throughout this

       ordeal, C.C. was crying and saying he did not know what to do while Cummings

       ignored him for hours.

137.   The above incident was reported to King by an assistant teacher. Cummings was

       suspended for a few days. King did not report this incident to DCF or require any

       retraining.



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138.   In September 2020, C.C. was transferred to a different room with a different teacher.

       After this transfer, C.C. began making great progress with his disability issues and his

       education.

139.    C.C.    has suffered physical and emotional distress.

140.   Erika Mellstrom and Clifton Clark, III have suffered a loss of parental consortium,

       causing severe emotional distress, including feelings of shame, anxiety and guilt.

                                                R.F.

141.   In March 2020, R.F. was a five-year-old girl with autistic spectrum disorder including

       severe language impairment.

142.    R.F.    attended Wildwood School in classroom 7. Cummings would grab and slam

        R.F.    down in a chair and then ignore R.F. as she cried. R.F. came home from

       school with bruising on her buttock.

143.   On at least one occasion, Cummings grabbed R.F.          took her to a chair, slammed her

       down in the chair and ignored her as R.F. screamed.

144.     R.F.    parents attempted to talk to the Superintendent about these issues, but he failed

       and refused to return their call.

145.    R.F.    has suffered severe physical and emotional distress, including feelings of anxiety.

146.   Sabrina Fucile and Allen Fucile have suffered a loss of parental consortium, causing

       severe emotional distress, including feelings of shame, anxiety and guilt.




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                                         COUNT I - Negligence

       C.B         ,          N.B.   ,        R.C. 1   ,      R.C. 2      ,    C.L.    ,     A.F.
               ,       J.L.     ,    G.S.        ,     C.C.            and    R.F.
                                                    v.
                                            Town of Wilmington

147.    Plaintiffs reallege and incorporate herein the allegations contained in each and every

        other paragraph of this Complaint.

148.    Defendant Town of Wilmington owed a duty to exercise reasonable care for the

        protection of the Plaintiffs against misconduct and inappropriate conduct and/or contact

        by Cummings, Foggerty and Talbot.

149.    Based on the conduct described above, Defendant Town of Wilmington was aware or

        should have been aware of the fact that Cummings, Foggerty and Talbot were subjecting

        their students to physical and emotional abuse which posed safety risks to the students.

150.    Based on the conduct described above, Defendant Town of Wilmington was aware or

        should have been aware of the fact that Fitzgerald was allowing Cummings to subject her

        students to physical and emotional abuse which posed safety risks to the students.

151.    Defendant Town of Wilmington breached that duty by negligently failing to train,

        supervise, and otherwise failing to make scheduling and staffing decisions to ensure that

        all students were not emotionally and physically abused and received proper supervision.

152.    Defendant Town of Wilmington, through its administrators and staff, including

        Defendants Fitzgerald, King, Legrand, Ruggiero and Brand, failed to supervise

        Cummings, Foggerty and Talbot in a manner to prevent and discover Cummings,

        Foggerty and Talbot’s physical and emotional abuse.




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153.   Presentment of this claim was made pursuant to Massachusetts General Laws, Chapter

       258 §4.

154.   By its actions, Defendant Town of Wilmington is the direct and proximate cause of the

       physical and emotional abuse endured by the Plaintiffs.

155.   As a direct and proximate result of the foregoing, Plaintiffs suffered and continue to

       suffer physical injury, indignity, humiliation, severe emotional distress, and mental

       anguish.

         WHEREFORE, the Plaintiffs demand judgment against Defendant Town of Wilmington
for all compensatory damages recoverable; costs and expenses allowable; and any and all other
relief as the Court deems just and proper.

                                   COUNT II – 42 U.S.C. §1983

       C.B        ,       N.B.         ,     R.C. 1    ,   R.C. 2    ,      C.L.          ,   A.F.
                      ,     J.L.   ,         G.S.     ,     C.C.         and       R.F.
                                                   v.
                                           Town of Wilmington

156.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

157.   Defendant Town of Wilmington acted by and through its agents.

158.   Defendant Town of Wilmington violated the Plaintiffs’ rights as residents of the United

       States pursuant to 42 U.S.C. §1983 and §1988.

159.   Defendant Town of Wilmington had a duty to exercise reasonable care in the selection

       and retention of employees and to provide and ensure an educational environment for the

       Plaintiffs that was free from physical and emotional abuse and to enforce the regulations,

       rules, and laws necessary to protect the Plaintiffs and other students from acts of physical

       and emotional abuse of Cummings, Foggerty and Talbot.



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160.   Defendant Town of Wilmington failed to properly train and supervise employees and/or

       discipline them in order to avoid physical and emotional abuse and inadequate

       supervision.

161.   By these failures, Defendant the Town of Wilmington adopted, approved, and/or

       enforced a policy, practice, and custom tolerating the violation of constitutional rights.

162.   The affirmative acts of the Defendant Town of Wilmington, including, but not limited to,

       its implementation of customs, practices and/or policies that resulted in a failure to

       properly train and supervise its employees regarding required procedures for

       investigating and responding to reports of abuse, were the moving force and/or direct

       causal link to the physical and emotional abuse suffered by the Plaintiffs and were so

       extreme and egregious as to shock the conscience.

163.   Defendant Town of Wilmington intentionally, willfully, and without justification

       deprived Plaintiffs of their rights, privileges, and immunities secured to them by the

       Constitution and the laws of the United States, including but not limited to, their rights to

       due process and to be free from physical and emotional abuse as provided by the

       Fourteenth Amendment of the Constitution, in violation of 42 U.S.C. §1983.

164.   As a direct and proximate result of the foregoing, Plaintiffs suffered and continue to

       suffer physical injury, indignity, humiliation, severe emotional distress, and mental

       anguish.

         WHEREFORE, the Plaintiffs, demand judgment against Defendant Town of Wilmington
for all compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees,
costs and expenses allowable; and any and all other relief as the Court deems just and proper.




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                                 COUNT III - 794 U.S.C. §504

       C.B      ,       N.B.       ,          R.C. 1       ,     R.C. 2   ,     C.L.    ,   A.F.
                    ,   J.L.           G.S.            ,       C.C.       and    R.F.
                                               v.
                                       Town of Wilmington

165.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

166.   794 U.S.C. § 504 requires recipients of federal funding to provide an appropriate

       education to all qualified handicapped persons who are in the recipient's jurisdiction,

       regardless of the nature or severity of the person's handicap.

167.   Defendant Town of Wilmington is a recipient of federal financial assistance, including

       federal financial assistance provided to its schools, special education departments, and

       Section 504 programs.

168.   Recipients of federal financial assistance must provide regular or special education and

       related aids and services designed to meet the individual educational needs of disabled

       persons so that the needs of disabled persons are adequately met and may not

       discriminate on the basis of disability in providing these services.

169.   Pursuant to 29 U.S.C. § 794, Defendant Town of Wilmington, by and through its staff,

       are required to establish and maintain procedures to ensure that children with disabilities

       and their parents are guaranteed procedural safeguards with respect to the provision of

       Free and Appropriate Public Education ("FAPE").

170.   Defendant Town of Wilmington, by and through its staff, grossly and substantially

       departed from accepted professional judgment, practice, or standards when they did not




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       provide the Plaintiffs with protection from physical and emotional abuse and proper

       supervision.

171.   Defendant Town of Wilmington, through its staff, intentionally and deliberately failed

       and refused to implement proper accommodations despite their obligation to do so and

       instead allowed Plaintiffs to be abused by Kimberly Cummings, Kelly Foggerty and

       Jessica Talbot.

172.   Defendant Town of Wilmington, through its staff, further discriminated against Plaintiffs

       by treating the Plaintiffs differently than their non-disabled peers.

173.   As a direct and proximate result of Defendant Town of Wilmington's deliberate and

       intentional actions and violations as described above, Plaintiffs were denied access to

       their education in violation of 794 U.S.C. § 504.

174.   As a direct and proximate result of Defendant Town of Wilmington’s discriminatory

       actions, Plaintiffs suffered physical injury, indignities, humiliation, severe emotional

       distress and mental anguish.

         WHEREFORE, the Plaintiffs, demand judgment against Defendant Town of Wilmington
for all compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees,
costs and expenses allowable; and any and all other relief as the Court deems just and proper.

                                 COUNT IV - M.G.L. Chapter 93 §103

       C.B      ,         N.B.        ,          R.C. 1       ,     R.C. 2   ,     C.L.    ,   A.F.
                    ,    J.L.             G.S.            ,       C.C.       and    R.F.
                                        v.
 Town of Wilmington, Kimberly Cummings, Victoria Fitzgerald, Kelly Foggerty, Jessica
    Talbot, Alice Brown-Legrand, Paul Ruggiero, Charlotte King and Glenn Brand

175.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.



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176.   Each and all of the Defendants violated Plaintiffs rights as handicapped persons in the

       Commonwealth of Massachusetts to the full and equal benefit of all laws and proceedings

       for the security of persons, including, but not limited to, the rights secured under Article

       CXIV of the Amendments to the Constitution, and pursuant to G.L. c. 93, §103.

177.   Each of the Defendants intentionally and deliberately failed and refused to implement

       proper accommodations despite their obligation to do so and instead allowed Plaintiffs to

       be physically and emotionally abused by Kimberly Cummings, Kelly Foggerty and

       Jessica Talbot, depriving them of the full and equal benefit of all laws and constitutional

       rights.

178.   As a direct and proximate result of the foregoing, Plaintiffs suffered and continue to

       suffer physical injury, indignity, humiliation, severe emotional distress, and mental

       anguish.

       WHEREFORE, the Plaintiffs, demand judgment against each of the Defendants for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.

                      COUNT V - Intentional Infliction of Emotional Distress

       C.B        ,          N.B.      ,   R.C. 1       ,   R.C. 2    ,         C.L.          ,   A.F.
                         ,      J.L.       G.S.     ,        C.C.         and          R.F.
                                        v.
 Town of Wilmington, Kimberly Cummings, Victoria Fitzgerald, Kelly Foggerty, Jessica
       Talbot, Alice Brown-Legrand, Paul Ruggiero, Charlotte King and Glenn Brand

179.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

180.   Each and all of the Defendants intended to inflict emotional distress or, they knew or

       should have known that emotional distress was the likely result of their conduct, when




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       they physically and emotionally abused or allowed others to physically and emotionally

       abuse the Plaintiffs.

181.   Defendants’ conduct in physically and emotionally abusing or allowing others to

       physically and emotionally abuse disabled students in their care was extreme and

       outrageous, beyond all possible bounds of decency, and utterly intolerable in a civilized

       community.

182.   Defendants conduct caused the Plaintiffs distress of a nature so severe that no reasonable

       person could be expected to endure it.

183.   As a direct and proximate result of Defendants’ actions, the Plaintiffs suffered physical

       injury, indignities, humiliation, severe emotional distress and mental anguish.

         WHEREFORE, the Plaintiffs demand judgment against each Defendant for all
compensatory damages recoverable; all costs and expenses allowable; and any and all other
relief as the Court deems just and proper.

                                  COUNT VI - 42 U.S.C. §1983

       C.B        ,       N.B.      ,          R.C. 1       ,     R.C. 2   ,     C.L.     ,      A.F.
                      ,   J.L.          G.S.            ,       C.C.       and    R.F.
                                              v.
             Charlotte King, Alice Brown-Legrand, Paul Ruggiero and Glenn Brand

184.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

185.   At all material times, Defendants King, Legrand, Ruggiero and Brand had the duty and

       responsibility to constitutionally hire, train, instruct, monitor, supervise, evaluate,

       investigate, staff, and discipline the Defendants Cummings, Fitzgerald, Foggerty and

       Talbot as well as all other employees and agents of Wildwood School.




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186.   Defendants King, Legrand, Foggerty and Brand failed to properly hire, train, instruct,

       monitor, supervise, evaluate, investigate, and discipline Cummings, Fitzgerald, Foggerty,

       Talbot and other employees of the Wildwood School, with deliberate indifference to the

       Plaintiffs’ constitutional rights, which were thereby violated as described above.

187.   As supervisors, Defendants King, Legrand, Ruggiero and Brand, each permitted and

       failed to prevent the unconstitutional acts of Defendants Cummings, Fitzgerald, Foggerty

       and Talbot, individuals under their supervision and control, and failed to properly

       supervise such individuals, with deliberate indifference to the rights and serious needs of

       the Plaintiffs. Each of these supervising Defendants either directed his or her

       subordinates in conduct that violated the Plaintiffs’ rights, or set in motion a series of acts

       and omissions by his or her subordinates that the supervisor knew or reasonably should

       have known would deprive the Plaintiffs of rights, or knew his or her subordinates were

       engaging in acts likely to deprive the Plaintiffs of rights and failed to act to prevent his or

       her subordinate from engaging in such conduct, or disregarded the consequence of a

       known or obvious training deficiency that he or she must have known would cause

       subordinates to violate the Plaintiffs rights, and in fact did cause the violation of the

       Plaintiffs rights. Furthermore, each of these supervising Defendants is liable in their

       failures to intervene in their subordinates' obvious violations of the Plaintiffs' rights.

188.   The unconstitutional customs, policies, practices, and/or procedures of Defendant Town

       of Wilmington, stated herein, were directed, encouraged, allowed, and/or ratified by

       policymaking officers for Defendant Town of Wilmington, including Defendants King,

       Legrand, Ruggiero and Brand, with deliberate indifference to the Plaintiffs’ and others'

       constitutional rights, which were thereby violated as described above.


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189.   The unconstitutional actions and/or omissions of Defendants Cummings, Fitzgerald,

       Foggerty and Talbot, as described above, were approved, tolerated, and/or ratified by

       policymaking officers for the Town of Wilmington, including Defendants King, Legrand,

       Ruggiero and Brand.

190.   The details of the above-described incidents were revealed to Defendants King, Legrand,

       Ruggiero and Brand.

191.   Notwithstanding this knowledge, Defendants King, Legrand, Ruggiero and Brand have

       approved and ratified the conduct and decisions of Defendants Cummings, Fitzgerald,

       Foggerty and Talbot in this matter, and have made a deliberate choice to endorse such

       conduct and decisions, and the basis for them.

192.   By so doing, Defendants King, Legrand, Ruggiero and Brand have shown affirmative

       agreement with Defendants Cummings, Fitzgerald, Foggerty and Talbot's actions and

       have ratified their unconstitutional acts.

193.   These customs, policies, practices, and procedures; the failures to properly and

       adequately hire, train, instruct, monitor, supervise, evaluate, investigate, and discipline;

       and the unconstitutional orders, approvals, ratification, and toleration of wrongful

       conduct of Defendants Cummings, Fitzgerald, Foggerty and Talbot were a moving

       force and/or a proximate cause of the deprivations of the Plaintiffs’ clearly established

       and well-settled constitutional rights in violation of 42 U.S.C.A. § 1983, as more fully set

       forth above.

194.   Defendants King, Legrand, Ruggiero and Brand subjected Plaintiffs to their wrongful

       conduct, depriving Plaintiffs of rights described herein, knowingly, maliciously, and with




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       conscious and reckless disregard for whether the rights and safety of Plaintiffs would be

       violated by their acts and/or omissions.

195.   As a direct and proximate result of the unconstitutional actions, omissions, customs,

       policies, practices, and procedures of Defendants King, Legrand, Ruggiero and Brand as

       described above, the Plaintiffs sustained serious and permanent injuries and are entitled

       to damages, penalties, costs, and attorneys' fees.

196.   As a direct and proximate result of the foregoing, the Plaintiffs suffered and continue to

       suffer physical injury, indignity, humiliation, severe emotional distress, and mental

       anguish.

       WHEREFORE, the Plaintiffs, demand judgment against Defendants Charlotte King,
Alice Brown-Legrand, Paul Ruggiero and Glenn Brand for all compensatory damages
recoverable; all punitive damages recoverable; all attorney’s fees, costs and expenses allowable;
and any and all other relief as the Court deems just and proper.

                                 COUNT VII - 42 U.S.C. § 1983

       C.B        ,     N.B.         ,          R.C. 1   ,      R.C. 2     ,      C.L.   ,     A.F.
                               and       J.L.      ,     C.C.            and Fucile
                                                 v.
                                         Kimberly Cummings

197.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

198.   Defendant Cummings, while acting under color of law, physically and emotionally

       abused the Plaintiffs and thereby violated their clearly established rights under the

       Fourteenth Amendments to the United States Constitution.

199.   Defendant Cummings acted with reckless disregard for Plaintiffs’ constitutional rights.




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200.   As a direct and proximate result of Defendant Cummings discriminatory actions, the

       Plaintiffs suffered physical injury, indignities, humiliation, severe emotional distress and

       mental anguish.

         WHEREFORE, the Plaintiffs, demand judgment against Defendant Kimberly Cummings
for all compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees,
costs and expenses allowable; and any and all other relief as the Court deems just and proper.

                                COUNT VIII - Assault and Battery

       C.B      ,        N.B.       ,      R.C. 1    ,     R.C. 2     ,      C.L.       ,   A.F.
                                ,   J.L.    ,       C.C.        and       R.F.
                                                v.
                                        Kimberly Cummings

201.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

202.   Defendant Cummings committed the tort of assault and battery against the Plaintiffs by

       assaulting and battering them without legal justification, cause, excuse, or privilege.

203.   As a direct and proximate result of Defendant Cummings’ actions, Plaintiffs suffered

       physical injury, indignities, humiliation, severe emotional distress and mental anguish.

         WHEREFORE, the Plaintiffs demand judgment against Defendant Kimberly Cummings
for all compensatory damages recoverable; all attorney’s fees, costs and expenses allowable; and
any and all other relief as the Court deems just and proper.

              COUNT IX - Massachusetts Civil Rights Act, M.G.L. c. 12 § 11I

       C.B      ,        N.B.       ,      R.C. 1    ,     R.C. 2     ,      C.L.       ,   A.F.
                                ,   J.L.    ,       C.C.        and       R.F.
                                                v.
                                        Kimberly Cummings

204.   Each of the foregoing paragraphs is incorporated as if fully set forth herein.

205.   By means of use of threats, intimidation and coercion, defendant Cummings violated the

       civil rights of the Plaintiffs under the laws of the Commonwealth of Massachusetts.


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206.   As a direct and proximate result of Defendant Cummings’ actions, Plaintiffs suffered

       physical injury, indignities, humiliation, severe emotional distress and mental anguish.

         WHEREFORE, the Plaintiffs, demand judgment against Defendant Kimberly Cummings
for all compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees,
costs and expenses allowable; and any and all other relief as the Court deems just and proper.

                                       COUNT X - 42 U.S.C. § 1983

       C.B        ,     N.B.       ,      R.C. 1     ,     R.C. 2     ,      C.L.       ,   A.F.
                                   J.L.     ,      C.C.         and       R.F.
                                                 v.
                                        Victoria Fitzgerald

207.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

208.   Defendant Fitzgerald, while acting under color of law, stood by and allowed Defendant

       Cummings to physically and emotionally abuse the Plaintiffs and thereby violated their

       clearly established rights under the Fourteenth Amendment to the United States

       Constitution.

209.   Defendant Fitzgerald acted with reckless disregard for the Plaintiffs’ constitutional rights.

210.   As a direct and proximate result of the foregoing, Plaintiffs suffered and continue to

       suffer physical injury, indignity, humiliation, severe emotional distress, and mental

       anguish.

         WHEREFORE, the Plaintiffs, demand judgment against Defendant Victoria Fitzgerald
for all compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees,
costs and expenses allowable; and any and all other relief as the Court deems just and proper.




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                                 COUNT XI - 42 U.S.C. § 1983

                                      G.S.       v. Jessica Talbot

211.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

212.   Defendant Talbot, while acting under color of law, physically and emotional abused the

       Plaintiff and thereby violated his clearly established rights under the Fourteenth

       Amendments to the United States Constitution.

213.   Defendant Talbot acted with reckless disregard for Plaintiff’s constitutional rights.

214.   As a direct and proximate result of Defendant Talbot’s discriminatory actions, the

       Plaintiff suffered physical injury, indignity, humiliation, severe emotional distress and

       mental anguish.

       WHEREFORE, the Plaintiff, demands judgment against Defendant Jessica Talbot for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.

                              COUNT XII - Assault and Battery

                                      G.S.       v. Jessica Talbot

215.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

216.   Defendant Talbot committed the tort of assault and battery against the Plaintiff by

       assaulting and battering him without legal justification, cause, excuse, or privilege.

217.   As a direct and proximate result of Defendant Talbot’s actions, Plaintiff suffered physical

       injury, indignities, humiliation, severe emotional distress and mental anguish.




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        WHEREFORE, the Plaintiff, demands judgment against Defendant Jessica Talbot for all
compensatory damages recoverable; all attorney’s fees, costs and expenses allowable; and any
and all other relief as the Court deems just and proper.

             COUNT XIII - Massachusetts Civil Rights Act, M.G.L. c. 12 § 11I

                                      G.S.       v. Jessica Talbot

218.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

219.   By means of use of threats, intimidation and coercion, defendant Talbot violated the civil

       rights of the Plaintiff under the laws of the Commonwealth of Massachusetts.

220.   As a direct and proximate result of Defendant Talbot’s actions, Plaintiff suffered physical

       injury, indignities, humiliation, severe emotional distress and mental anguish.

       WHEREFORE, the Plaintiff, demands judgment against Defendant Jessica Talbot for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.

                                COUNT XIV - 42 U.S.C. § 1983
                                   C.L.     v. Kelly Foggerty

221.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

222.   Defendant Foggerty, while acting under color of law, physically and emotional abused

       the Plaintiff and thereby violated her clearly established rights under the Fourteenth

       Amendments to the United States Constitution.

223.   Defendant Foggerty acted with reckless disregard for Plaintiff’s constitutional rights.

224.   As a direct and proximate result of Defendant Foggerty’s discriminatory actions, the

       Plaintiff suffered physical injury, indignity, humiliation, severe emotional distress and

       mental anguish.


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       WHEREFORE, the Plaintiff, demands judgment against Defendant Foggerty for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.

                               COUNT XV - Assault and Battery

                                      C.L.       v. Kelly Foggerty

225.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

226.   Defendant Foggerty committed the tort of assault and battery against the Plaintiff by

       assaulting and battering her without legal justification, cause, excuse, or privilege.

227.   As a direct and proximate result of Defendant Foggerty’s actions, Plaintiff suffered

       physical injury, indignities, humiliation, severe emotional distress and mental anguish.

        WHEREFORE, the Plaintiff, demands judgment against Defendant Kelly Foggerty for all
compensatory damages recoverable; all attorney’s fees, costs and expenses allowable; and any
and all other relief as the Court deems just and proper.

             COUNT XVI - Massachusetts Civil Rights Act, M.G.L. c. 12 § 11I

                                      C.L.       v. Kelly Foggerty

228.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

229.   By means of use of threats, intimidation and coercion, defendant Kelly Foggerty violated

       the civil rights of the Plaintiff under the laws of the Commonwealth of Massachusetts.

230.   As a direct and proximate result of Defendant Kelly Foggerty’s actions, Plaintiff suffered

       physical injury, indignities, humiliation, severe emotional distress and mental anguish.

       WHEREFORE, the Plaintiff, demands judgment against Defendant Kelly Foggerty for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.



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                  COUNT XVII - Loss of Consortium under M.G.L. c. 231, § 85X

Roberta Biscan, Jennifer Baptista, Aaron Baptista, Sabrina Veloza, Kathryn Marsh, Mark
        Chmiel, Colleen Lavorato, Joseph Lavorato, Nicolette Doucette, Rosario Lofaro,
       Jeannette Luti, Richard Luti, Cassandra Nichols, Erika Mellstrom, Clifton Clark,
                              III, Sabrina Fucile and Allen Fucile
                                            v.
 Town of Wilmington, Kimberly Cummings, Victoria Fitzgerald, Kelly Foggerty, Jessica
        Talbot, Alice Brown-Legrand, Paul Ruggiero, Charlotte King and Glenn Brand

231.   Plaintiffs reallege and incorporate herein the allegations contained in each and every

       other paragraph of this Complaint.

232.   Plaintiff Roberta Biscan is the parent of       C.B       , an intellectually disabled child

       who is totally dependent on his parent for support.

233.   Plaintiffs Jennifer Baptista and Aaron Baptista are the parents of          N.B.       , an

       intellectually disabled child who is totally dependent on his parents for support.

234.   Plaintiff Sabrina Veloza is the parent of      R.C. 1     , an intellectually disabled child

       who is totally dependent on his parent for support.

235.   Kathryn Marsh and Mark Chmiel are the parents of          R.C. 2      , an intellectually

       disabled child who is totally dependent on his parents for support.

236.   Plaintiffs Colleen Lavorato and Joseph Lavorato are the parents of            C.L.      , an

       intellectually disabled child who is totally dependent on her parents for support.

237.   Plaintiffs Nicolette Doucette and Rosario Lofaro are the parents of             A.F.           , an

       intellectually disabled child who is totally dependent on his parents for support.

238.   Plaintiffs Jeannette Luti and Richard Luti are the parents of      J.L.   , an intellectually

       disabled child who is totally dependent on his parents for support.

239.   Plaintiff Cassandra Nichols is the parent of       G.S.     , an intellectually disabled

       child who is totally dependent on his parent for support.


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240.   Plaintiffs Erika Mellstrom and Clifton Clark, III are the parents of       C.C.        an

       intellectually disabled child who is totally dependent on his parents for support.

241.   Plaintiffs Sabrina Fucile and Allen Fucile are the parents of     R.F.     , an

       intellectually disabled child who is totally dependent on his parents for support.

242.   In accordance with M.G.L. c. 231, § 85X, Plaintiffs each have a cause of action for loss

       of consortium of their child, against each of the Defendants who are responsible for

       causing their injury.

       WHEREFORE, the Plaintiffs, demand judgment against each of the Defendants for all
compensatory damages recoverable; all punitive damages recoverable; all attorney’s fees, costs
and expenses allowable; and any and all other relief as the Court deems just and proper.

       PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL CLAIMS.


                                             Plaintiffs,
                                             By their attorney


                                             /s/ Richard M. Welsh, Jr.
                                             Richard M. Welsh, Jr., Esq., BBO# 552732
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March 23, 2023




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